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 3
                             IN THE UNITED STATES DISTRICT COURT
 4                                FOR THE DISTRICT OF NEVADA
 5
 6    UNITED STATES OF AMERICA,                       )   3:73-cv-00127-MMD-WGC
                                                      )
 7           Plaintiff,                               )
                                                      )   AMENDED ORDER
 8    WALKER RIVER PAIUTE TRIBE,                      )   CONCERNING ECF NOS. 2408,
 9                                                    )   2409, 2410, AND 2411
             Plaintiff-Intervenor,                    )
10                                                    )
                     v.                               )
11
                                                      )
12    WALKER RIVER IRRIGATION DISTRICT,               )
      a corporation, et al.,                          )
13                                                    )
             Defendants.                              )
14
                                                      )
15
16          This Court has reviewed the actions and orders taken on November 28, 2018, concerning
17   Orders ECF Nos. 2408, 2409, 2410, and 2411. Based on further review of Order ECF No. 1711
18   and Amended Order ECF No. 1650 and the recommendations made by the United States and the
19   Principal Parties, the Court amends Orders ECF Nos. 2408, 2409, 2410, and 2411 as stated in
20   the paragraphs below.
21          1. In ECF No. 2342, Ms. White on behalf of the Kirk White Family Trust appears to
22             request that the Trust be removed from this case and that the current owner of property
23             in the Walker River Basin be substituted in the Trust’s stead. In ECF No. 2411, the
24             Court ordered that the Trust be removed from the docket and requested that the Trust
25             provide the address of the current owner of the subject property.
26          2. In ECF No. 2344, Jesse Nish appears to request that he be removed from this case and
27             that the current owner of property in the Walker River Basin be substituted in his
28             stead. In ECF No. 2409, the Court ordered that Mr. Nish be removed from the

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 1          docket and requested that Mr. Nish provide the address of the current owner of the
 2          subject property.
 3       3. In ECF No. 2376, Larry and Richelene Simmons appear on behalf of the Simmons
 4          Family 2007 Trust to request that the Trust be removed from this case and that the
 5          current owner of property in the Walker River Basin be substituted in the Trust’s
 6          stead. In ECF No. 2410, the Court ordered that the Trust be removed from the docket
 7          and requested that the Trust provide the current address of owner of the subject
 8          property.
 9       4. In ECF No. 2381, Marsha Ann Thieme requested that her deceased husband (Mr.
10          Thieme) be removed from correspondence. In ECF No. 2408, the Court ordered that
11          Ms. Thieme’s husband (deceased) be removed from the docket.
12       5. Based on review of Order ECF No 1711, the Court must modify Orders ECF Nos.
13          2409, 2410, and 2411 as follows. No party will be removed from this case and no
14          party will be substituted for another unless and until the requesting party has complied
15          with Rule 25 of the Federal Rules of Civil Procedure. Namely for the individuals and
16          trusts identified in paragraphs 1 – 3 above, each party must 1) inform the Court that
17          they no longer own property that is the subject of this action; 2) inform the Court of
18          the name / mailing address of the current property owner; and 3) inform the Court that
19          notice has been properly served on the current property owner, by namely at
20          minimum, that such the current property owner has been mailed a copy of the request
21          that they be substituted. See Fed. R. Civ. P. 5(b)(2)(C). The Court has previously
22          prepared a draft motion that parties may utilize for this purpose. See Amended Order
23          (ECF No. 1650) Attachment A.
24       6. With respect to Order ECF No. 2408, that order is modified to reflect that Mr. Thieme
25          is not removed from this case unless either Mrs. Thieme informs the Court that she is
26          the successor to Mr. Thieme or a motion is submitted pursuant to Fed. R. Civ. P. 25(a)
27          requesting his removal and the substitution of his successor/representative. The Court,
28          however, will remove Mr. Thieme from the email list as requested by Mrs. Thieme.

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 1            7. Further, the Court informs all unrepresented parties that persons not licensed /
 2               permitted to appear before this court as lawyers are not permitted to appear on behalf
 3               of artificial entities such as trusts, corporations, partnerships, or associations. See
 4               Rowland v. California Men's Colony, Unit II Men's Advisory Council, 506 U.S. 194,
 5               202, 113 S. Ct. 716, 121 L. Ed. 2d 656 (1993).
 6            8. Finally, a party’s request to be removed from the Court’s mailing or email list does
 7               not equate to a request to be dismissed from this case. Upon any request to be
 8               removed from the Court’s mailing or email list, the Court will administratively take
 9               such action without further docket entry.
10
11   IT IS SO ORDERED.
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13   Dated:    March 4, 2019.

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17                                                   United States Magistrate Judge
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